                   UNITED  STATES COURT
                    Case: 25-1571       OF7APPEALS
                                  Document:   Page: 1FORDate
                                                        THEFiled:
                                                             THIRD  CIRCUIT
                                                                  04/07/2025

                                                     No. 25-1571

                        Atlas Data Privacy Corporation, et al.   vs. Melissa Data Corp., et al.

                                                 ENTRY OF APPEARANCE

 Please OLVWthe names of all parties represented, using additional sheet(s) if necessary:

 Atlas Data Privacy Corporation, et al.
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)               ____ Appellant(s)                     ____ Intervenor(s)

          ✔ Respondent(s)
         ____                             ____ Appellee(s)                      ____ Amicus Curiae
                                Rajiv D. Parikh
(Type or Print) CounseO’s Name ________________________________________________________________
                                    ✔ Mr.
                                  ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

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SIGNATURE OF COUNSEL:

COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
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PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 
